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                            UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig
“Deepwater Horizon” in the Gulf of                    MDL No. 2179
Mexico, on April 20, 2010
                                                      SECTION J
This Document Relates to:
                                                      JUDGE BARBIER
LYONS, JOHNNY
                                                      MAGISTRATE JUDGE SHUSHAN
Docket Number(s)
2:13-cv-05367-CJB-SS
2:14-cv-0357-CJB-SS

Short Form Joinder Number(s)




                NOTICE OF VOLUNTARY DISMISSAL(S) WITH PREJUDICE

       COME NOW the below-listed Plaintiff(s), each by and through the undersigned counsel,

pursuant to Rule 41(a)(l)(A)(i) of the Federal Rules of Civil Procedure and the Full and Final

Release, Settlement, and Covenant Not to Sue entered into by the parties, and hereby gives

notice of the voluntary dismissal with prejudice of all actions, claims, causes of action, and

short-form joinders against all Defendants, including but not limited to the action(s) and short-

form joinders listed below, and withdrawal from any class (whether putative or certified), except

that this dismissal does not extend to claims by Plaintiff(s) for punitive or exemplary damages

against Transocean Inc., Transocean Holdings LLC, Transocean Ltd., Transocean Deepwater

Inc., Transocean Offshore Deepwater Drilling Inc., Triton Asset Leasing GmbH, and

Halliburton Energy Services Inc. (if any). Costs taxed as paid.



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  Case name(s) and docket number(s):

    LYONS, JOHNNY




  Short Form Joinder number(s) and identifying information:




                      Respectfully submitted this 27th day of June 2016.



                                   /s/ Brent W. Coon
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